                       Case 3:21-cv-06831-TSH Document 6
                                                       2 Filed 09/02/21 Page 1 of 4
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                NORTHERN DISTRICT OF CALIFORNIA


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TAKE-TWO INTERACTIVE SOFTWARE, INC.,                                     )
                            Plaintiff(s)
                                                                         )
                                                                         )
                         v.                                                                 Civil Action No. 3:21-cv-6831-TSH
                                                                         )
ANGELO PAPENHOFF, a/k/a AAP, an individual;
                                                                         )
THEO MORRA, an individual; ERAY ORÇUNUS, an
                                                                         )
individual; ADRIAN GRABER, an individual; DOE 1
                                                                         )
a/k/a ASH R. and ASH_735, an individual; and DOES
                                                                         )
2 through 10, inclusive,
                                                                         )
                           Defendant(s)

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    ADRIAN GRABER
    Carl-Leverkus-Straße 17
    Leverkusen 51373
    GERMANY


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
     KARIN G. PAGNANELLI (SBN 174763), kgp@msk.com
     Mitchell Silberberg & Knupp LLP
     2049 Century Park East, 18th Floor
     Los Angeles, CA 90067
     Telephone: (310) 312-2000
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                NORTHERN DISTRICT OF CALIFORNIA


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TAKE-TWO INTERACTIVE SOFTWARE, INC.,                                        )
                            Plaintiff(s)
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                         v.                                                                      Civil Action No. 3:21-cv-6831 -TSH
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ANGELO PAPENHOFF, a/k/a AAP, an individual;
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THEO MORRA, an individual; ERAY ORÇUNUS, an
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individual; ADRIAN GRABER, an individual; DOE 1
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a/k/a ASH R. and ASH_735, an individual; and DOES
                                                                            )
2 through 10, inclusive,
                                                                            )
                           Defendant(s)

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    ANGELO PAPENHOFF, a/k/a AAP
    Lloyd-G.-Wells-Strasse 47
    Berlin 14163
    GERMANY


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
     KARIN G. PAGNANELLI (SBN 174763), kgp@msk.com
     Mitchell Silberberg & Knupp LLP
     2049 Century Park East, 18th Floor
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                NORTHERN DISTRICT OF CALIFORNIA


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                            Plaintiff(s)
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                         v.                                                                         Civil Action No. 3:21-cv-6831 -TSH
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THEO MORRA, an individual; ERAY ORÇUNUS, an
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individual; ADRIAN GRABER, an individual; DOE 1
                                                                             )
a/k/a ASH R. and ASH_735, an individual; and DOES
                                                                             )
2 through 10, inclusive,
                                                                             )
                           Defendant(s)

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    ERAY ORÇUNUS
    A. Menderes Bul. Kurtuluş Cad. 2027.sokak No:1 K:6 D:11
    Aydın/Efeler
    TURKEY


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
     KARIN G. PAGNANELLI (SBN 174763), kgp@msk.com
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                NORTHERN DISTRICT OF CALIFORNIA


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                         v.                                                                     Civil Action No. 3:21-cv-6831 -TSH
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ANGELO PAPENHOFF, a/k/a AAP, an individual;
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THEO MORRA, an individual; ERAY ORÇUNUS, an
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a/k/a ASH R. and ASH_735, an individual; and DOES
                                                                           )
2 through 10, inclusive,
                                                                           )
                           Defendant(s)

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
    THEO MORRA
    P.O. Box 615
    Christchurch 8140
    NEW ZEALAND


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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